

People v Perez (2024 NY Slip Op 05188)





People v Perez


2024 NY Slip Op 05188


Decided on October 22, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2024

Before: Webber, J.P., Friedman, Mendez, Shulman, O'Neill Levy, JJ. 


Ind. No. 72528/22 Appeal No. 2862 Case No. 2022-05792 

[*1]The People of the State of New York, Respondent,
vJose Perez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Isabel Patkowski of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Jonathan Sclar of counsel), for respondent.



Judgment, Supreme Court, Bronx County (George R. Villegas, J.), rendered November 17, 2022, convicting defendant, upon his plea of guilty, of robbery in the third degree, and sentencing him, as a second felony offender, to a term of 2 to 4 years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US __ [2020]). The combination of the court's oral colloquy with defendant and the detailed written waiver that he signed after consultation with counsel satisfied the requirements of a valid waiver. This waiver forecloses review of his challenge to the issuance of an order of protection (People v Key, 222 AD3d 536, 536 [1st Dept 2023], lv denied 41 NY3d 943 [2024]; People v Frasqueri, 193 AD3d 464, 464 [1st Dept 2021], lv denied 37 NY3d 965 [2021]). 
In any event, defendant failed to preserve his challenge to the order of protection (see People v Nieves, 2 NY3d 310, 315-317 [2004]; see also Key, 222 AD3d at 537; Frasqueri, 193 AD3d at 464), and we decline to review his claim in the interest of justice. As an alternative holding, we find that the record sufficiently reflected the reasons for the imposition of the order (People v Key, 222 AD3d at 537; People v Gonzalez, 178 AD3d 440, 440 [1st Dept 2019], lv denied 35 NY3d 941 [2020]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2024








